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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
Clinton Brown,                                                                2:22-cv-09203-MEMF-KS
                                               Plaintiff(s),
                            v.

                                                                        NOTICE OF DEFICIENCY
Clark R. Taylor,
                                                                     DEFAULT/DEFAULT JUDGMENT
                                             Defendant(s).
PLEASE TAKE NOTICE:

The Clerk cannot enter the requested Default of                       Clark R. Taylor             for the following
reason(s)

G
✔      No declaration as required by F.R.Civ.P 55(a)
G      No proof of service/waiver of service on file
G      The name of the person served does not exactly match the person named in complaint
G      Proof of Service is lacking required information
G      Waiver of Service lacking the signature of the sender and/or the person acknowledging receipt
G      Time to respond has not expired
G      Answer and/or Motion for Summary Judgment and/or Motion to Dismiss on file
G      Request for Entry of Default has been forwarded to the assigned Judge
G      Party dismissed from action on
G      Case terminated on
G      Requesting party shall file a new Request/Application with noted deficiencies corrected in order to have
       default reconsidered .
G✔     Other The Request to Proceed In Forma Pauperis (Docket No. 2) has not yet been ruled on, therefore,
       no Summons has been issued for service.
The Clerk cannot enter the requested Default Judgment against                                            for the
following reason(s)

G        No Entry of Default on file
G        No declaration as required by F.R.Civ.P 55(b)
G        The name of the person for which Default Judgment is requested does not exactly match the person named
         in the complaint
G        Amounts requested differ or exceed the amounts prayed for in the demand for judgment in the most recently
         filed complaint
G        A declaration establishing the amount due must accompany the plaintiff’s request for default judgment
G        No judgment by default may be entered by the Clerk against the United States or an incompetent person. The
         Request for Entry of Default has been forwarded to the assigned Judge
G        Amount sought is not for a sum certain or cannot be computed to a sum certain
G        Attorney Fees sought not in compliance with Local Rule 55-3
G        Amount sought for costs is incorrect
G        Case terminated on
G        Requesting party shall file a new Request/Application with noted deficiencies corrected in order to have
         default judgment reconsidered.
G        Other                                               CLERK OF COURT
                                                              By: /s/ Hana Rashad
                                                                                   Deputy Clerk
CV-52B (09/12)                   NOTICE OF DEFICIENCY - DEFAULT/DEFAULT JUDGMENT
